         Case 3:20-cv-30057-MGM Document 13 Filed 03/11/21 Page 1 of 9




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

DEBORAH LAUFER, Individually,            :
                                         :
            Plaintiffs,                  :
                                         :
v.                                       :              Case No.
                                         :
MARIA HARRISON TRUST,                    :
                                         :
            Defendant.                   :
_______________________________________/ :
                                         :
                                         :
                                         :

                                  AMENDED COMPLAINT
                                  (Injunctive Relief Demanded)

       Plaintiff, DEBORAH LAUFER, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

MARIA HARRISON TRUST, Domestic Limited Liability Company, (sometimes referred to as

“Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of Florida, is sui juris, and qualifies as an individual with

               disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

               activity of walking more than a few steps without assistive devices. Instead, Plaintiff

               is bound to ambulate in a wheelchair or with a cane or other support and has limited

               use of her hands. She is unable to tightly grasp, pinch and twist of the wrist to

               operate. Plaintiff is also vision impaired. When ambulating beyond the comfort of her

               own home, Plaintiff must primarily rely on a wheelchair. Plaintiff requires accessible

               handicap parking spaces located closet to the entrances of a facility. The handicap
     Case 3:20-cv-30057-MGM Document 13 Filed 03/11/21 Page 2 of 9




         and access aisles must be of sufficient width so that she can embark and disembark

         from a ramp into her vehicle. Routes connecting the handicap spaces and all features,

         goods and services of a facility must be level, properly sloped, sufficiently wide and

         without cracks, holes or other hazards that can pose a danger of tipping, catching

         wheels or falling. These areas must be free of obstructions or unsecured carpeting

         that make passage either more difficult or impossible. Amenities must be sufficiently

         lowered so that Plaintiff can reach them. She has difficulty operating door knobs,

         sink faucets, or other operating mechanisms that tight grasping, twisting of the wrist

         or pinching. She is hesitant to use sinks that have unwrapped pipes, as such pose a

         danger of scraping or burning her legs. Sinks must be at the proper height so that she

         can put her legs underneath to wash her hands. She requires grab bars both behind

         and beside a commode so that she can safely transfer and she has difficulty reaching

         the flush control if it is on the wrong side. She has difficulty getting through

         doorways if they lack the proper clearance.

2.       Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

         "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

         determining whether places of public accommodation and their websites are in

         compliance with the ADA.

3.       According to the county property records, Defendant owns a place of public

         accommodation as defined by the ADA and the regulations implementing the ADA,

         28 CFR 36.201(a) and 36.104. The place of public accommodation that the

         Defendant owns is a place of lodging known as Hotel Williamstown 1146 Cold


                                           2
     Case 3:20-cv-30057-MGM Document 13 Filed 03/11/21 Page 3 of 9




         Spring Road, Williamstown, MA 01267, and is located in the County of Berkshire,

         (hereinafter "Property").

4.       Venue is properly located in this District because the subject property is located in

         this district.

5.       Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

         original jurisdiction over actions which arise from the Defendant’s violations of Title

         III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

         U.S.C. § 2201 and § 2202.

6.       As the owner of the subject place of lodging, Defendant is required to comply with

         the ADA. As such, Defendant is required to ensure that it's place of lodging is in

         compliance with the standards applicable to places of public accommodation, as set

         forth in the regulations promulgated by the Department Of Justice. Said regulations

         are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

         Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

         by reference into the ADA. These regulations impose requirements pertaining to

         places of public accommodation, including places of lodging, to ensure that they are

         accessible to disabled individuals.

7.       More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

         requirement:

         Reservations made by places of lodging. A public accommodation that owns,
         leases (or leases to), or operates a place of lodging shall, with respect to
         reservations made by any means, including by telephone, in-person, or through a
         third party -



                                           3
      Case 3:20-cv-30057-MGM Document 13 Filed 03/11/21 Page 4 of 9




                 (i) Modify its policies, practices, or procedures to ensure that individuals
                 with disabilities can make reservations for accessible guest rooms during
                 the same hours and in the same manner as individuals who do not need
                 accessible rooms;
                 (ii) Identify and describe accessible features in the hotels and guest rooms
                 offered through its reservations service in enough detail to reasonably
                 permit individuals with disabilities to assess independently whether a
                 given hotel or guest room meets his or her accessibility needs;
                 (iii) Ensure that accessible guest rooms are held for use by individuals
                 with disabilities until all other guest rooms of that type have been rented
                 and the accessible room requested is the only remaining room of that type;
                 (iv) Reserve, upon request, accessible guest rooms or specific types of
                 guest rooms and ensure that the guest rooms requested are blocked and
                 removed from all reservations systems; and
                 (v) Guarantee that the specific accessible guest room reserved through its
                 reservations service is held for the reserving customer, regardless of
                 whether a specific room is held in response to reservations made by others.

8.        These regulations became effective March 15, 2012.

9.        Defendant, either itself or by and through a third party, accepts reservations for its

          hotel online through one or more websites. The purpose of these websites is so that

          members of the public may reserve guest accommodations and review information

          pertaining to the goods, services, features, facilities, benefits, advantages, and

          accommodations of the Property. As such, these websites are subject to the

          requirements of 28 C.F.R. Section 36.302(e).

10.       Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

          purpose of reviewing and assessing the accessible features at the Property and

          ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and her

          accessibility needs. However, Plaintiff was unable to do so because Defendant failed

          to comply with the requirements set forth in 28 C.F.R. Section 36.302(e). As a result,

          Plaintiff was deprived the same goods, services, features, facilities, benefits,


                                            4
Case 3:20-cv-30057-MGM Document 13 Filed 03/11/21 Page 5 of 9




    advantages, and accommodations of the Property available to the general public.

    Specifically, (a) the hotel’s online reservations service operating through

    www.expedia.com failed to identify accessible rooms, failed to provide an option for

    booking an accessible room, and did not provide sufficient information as to whether

    the rooms or features at the hotel are accessible; (b) the hotel’s online reservations

    service operating through www.hotels.com failed to identify accessible rooms, failed

    to provide an option for booking an accessible room, and did not provide sufficient

    information as to whether the rooms or features at the hotel are accessible; (c) the

    hotel’s online reservations service operating through www.booking.com failed to

    identify accessible rooms, failed to provide an option for booking an accessible room,

    and did not provide sufficient information as to whether the rooms or features at the

    hotel are accessible; (d) the hotel’s online reservations service operating through

    www.orbitz.com failed to identify accessible rooms, failed to provide an option for

    booking an accessible room, and did not provide sufficient information as to whether

    the rooms or features at the hotel are accessible; (e) the hotel’s online reservations

    service operating through www.priceline.com failed to identify accessible rooms,

    failed to provide an option for booking an accessible room, and did not provide

    sufficient information as to whether the rooms or features at the hotel are accessible;

    (f) the hotel’s online reservations service operating through www.oyorooms.com

    failed to identify accessible rooms, failed to provide an option for booking an

    accessible room, and did not provide sufficient information as to whether the rooms

    or features at the hotel are accessible.


                                       5
      Case 3:20-cv-30057-MGM Document 13 Filed 03/11/21 Page 6 of 9




11.       In the near future, Plaintiff intends to revisit Defendant's online reservations system

          in order to test it for compliance with 28 C.F.R. Section 36.302(e). In this respect,

          Plaintiff maintains a system to ensure that she revisits the online reservations system

          of every hotel she sues. By this system, Plaintiff maintains a list of all hotels she has

          sued with several columns following each. She continually updates this list by,

          among other things, entering the dates she did visit and plans to again visit the hotel's

          online reservations system. With respect to each hotel, she visits the online

          reservations system multiple times prior to the complaint being filed, then visits

          again shortly after the complaint is filed. Once a judgment is obtained or settlement

          agreement reached, she records the date by which the hotel's online reservations

          system must be compliant and revisits when that date arrives.

12.       Plaintiff is continuously aware that the subject websites remain non-compliant and

          that it would be a futile gesture to revisit the websites as long as those violations exist

          unless she is willing to suffer additional discrimination.

13.       The violations present at Defendant's websites infringe Plaintiff's right to travel free

          of discrimination and deprive her of the information required to make meaningful

          choices for travel. Plaintiff has suffered, and continues to suffer, frustration and

          humiliation as the result of the discriminatory conditions present at Defendant's

          website. By continuing to operate the websites with discriminatory conditions,

          Defendant contributes to Plaintiff's sense of isolation and segregation and deprives

          Plaintiff the full and equal enjoyment of the goods, services, facilities, privileges

          and/or accommodations available to the general public. By encountering the


                                              6
      Case 3:20-cv-30057-MGM Document 13 Filed 03/11/21 Page 7 of 9




          discriminatory conditions at Defendant's website, and knowing that it would be a

          futile gesture to return to the websitesunless she is willing to endure additional

          discrimination, Plaintiff is deprived of the same advantages, privileges, goods,

          services and benefits readily available to the general public. By maintaining a

          websiteswith violations, Defendant deprives Plaintiff the equality of opportunity

          offered to the general public. Defendant's online reservations system serves as a

          gateway to its hotel. Because this online reservations system discriminates against

          Plaintiff, it is thereby more difficult to book a room at the hotel or make an informed

          decision as to whether the facilities at the hotel are accessible.

14.       Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

          of the Defendant’s discrimination until the Defendant is compelled to modify its

          websitesto comply with the requirements of the ADA and to continually monitor and

          ensure that the subject websitesremains in compliance.

15.       Plaintiff has a realistic, credible, existing and continuing threat of discrimination

          from the Defendant’s non-compliance with the ADA with respect to these websites.

          Plaintiff has reasonable grounds to believe that she will continue to be subjected to

          discrimination in violation of the ADA by the Defendant.

16.       The Defendant has discriminated against the Plaintiff by denying her access to, and

          full and equal enjoyment of, the goods, services, facilities, privileges, advantages

          and/or accommodations of the subject website.




                                             7
      Case 3:20-cv-30057-MGM Document 13 Filed 03/11/21 Page 8 of 9




17.       The Plaintiff and all others similarly situated will continue to suffer such

          discrimination, injury and damage without the immediate relief provided by the ADA

          as requested herein.

18.       Defendant has discriminated against the Plaintiff by denying her access to full and

          equal enjoyment of the goods, services, facilities, privileges, advantages and/or

          accommodations of its place of public accommodation or commercial facility in

          violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

          Defendant continues to discriminate against the Plaintiff, and all those similarly

          situated by failing to make reasonable modifications in policies, practices or

          procedures, when such modifications are necessary to afford all offered goods,

          services, facilities, privileges, advantages or accommodations to individuals with

          disabilities; and by failing to take such efforts that may be necessary to ensure that

          no individual with a disability is excluded, denied services, segregated or otherwise

          treated differently than other individuals because of the absence of auxiliary aids and

          services.

19.       Plaintiff is without adequate remedy at law and is suffering irreparable harm.

          Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

          fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205

          and 28 CFR 36.505.

20.       Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

          Injunctive Relief, including an order to require the Defendant to alter the subject

          websites to make them readily accessible and useable to the Plaintiff and all other


                                            8
              Case 3:20-cv-30057-MGM Document 13 Filed 03/11/21 Page 9 of 9




                       persons with disabilities as defined by the ADA and 28 C.F.R. Section 36.302(e); or

                       by closing the websites until such time as the Defendant cures its violations of the

                       ADA.



WHEREFORE, Plaintiff respectfully requests:

           a.          The Court issue a Declaratory Judgment that determines that the Defendant at the

                       commencement of the subject lawsuit is in violation of Title III of the Americans

                       with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

           b.          Injunctive relief against the Defendant including an order to revise its websites to

                       comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

                       maintain the websites to ensure that it remains in compliance with said requirement.

           c.          An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

                       § 12205.

           d.          Such other relief as the Court deems just and proper, and/or is allowable under

                       Title III of the Americans with Disabilities Act.

                                                                       Respectfully Submitted,


                                                                        _/s/ Daniel G. Ruggiero__
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